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                       IN THE UNITED STATES DISTRICT COURT

                        FOR THE EASTERN DISTRICT OF TEXAS

                                    BEAUMONT DIVISION


UNITED STATES OF AMERICA                          §
                                                  §
v.                                                §           NO. 1:04-CR-88-1
                                                  §
THOMAS ERIC GILLESPIE                             §


 REPORT AND RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE
          RE: DEFENDANT’S MOTION TO SUPPRESS EVIDENCE


       Pending is defendant’s motion to suppress evidence and statements. This motion is

referred to the undersigned United States magistrate judge for review, hearing if necessary, and

submission of a report with recommended findings of fact and conclusions of law. United States

v. Raddatz, 447 U.S. 667, 681-84 (1980); see also 28 U.S.C. § 636(b)(1)(B) and Local Rules for

the Assignment of Duties to United States Magistrate Judge. Pursuant to that order of reference,

the undersigned scheduled an evidentiary hearing for April 26, 2005, to consider defendant’s

motion.


       Prior to the hearing, counsel notified the court that defendant intends to enter into a plea

agreement that will result in an unconditional plea of guilty. This case renders the motion moot.



                                    III. RECOMMENDATION


       The motion to suppress evidence and statements (Docket No. 54) should be DENIED as

MOOT.
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                                         IV. OBJECTIONS


       Objections must be: (1) specific, (2) in writing, and (3) served and filed within ten days

after being served with a copy of this report. See 28 U.S.C. § 636(b)(1); FED . R. CIV . P. 1(a),

6(b), and 72(b).


       A party’s failure to object bars that party from: (1) entitlement to de novo review by a

district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275,

276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of unobjected-

to factual findings and legal conclusions accepted by the district court, see Douglas v. United

Servs. Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc).


       SIGNED this 26th day of April, 2005.




       SIGNED this       day of



                                      ___________________________________
                                      EARL S. HINES
                                      UNITED STATES MAGISTRATE JUDGE




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